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     Federal Defender
2    TIMOTHY ZINDEL, Bar #158377
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     JACOB D. ESTEVES
6
7
8                         IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )     No. 2:06-cr-00200-MCE
                                     )
13                  Plaintiff,       )
                                     )     STIPULATION AND ORDER
14        v.                         )     RESCHEDULING SENTENCING
                                     )     OF DEFENDANT ESTEVES
15   JACOB ESTEVES,                  )
                                     )
16                  Defendant.       )     Date: July 19, 2007
                                     )     Time: 9:00 a.m.
17   _______________________________ )     Judge: Hon. Morrison C. England
18
19        IT IS HEREBY STIPULATED AND AGREED between plaintiff, United States
20   of America, and defendant, Jacob Esteves, through their respective
21   attorneys, that the hearing on judgment and sentence scheduled for July
22   19, 2007, may be continued to August 23, 2007, at 9:00 a.m. as to
23   defendant Jacob Esteves, and the following amended schedule adopted for
24   preparation of the presentence report concerning him:
25        Informal objections to draft PSR due               July 19, 2007
26        Final PSR due                                      August 2, 2007
27        Formal objections to PSR due                       August 16, 2007
28        Hearing on J&S                                     August 23, 2007
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1          The parties seeks this continuance because counsel for Mr. Esteves
2    desires additional time to prepare his response to the draft presentence
3    report.    This stipulation and order is not intended to affect sentencing
4    of other defendants, who may be sentenced as may be otherwise scheduled.
5
6                                              Respectfully submitted,
7                                              DANIEL J. BRODERICK
                                               Federal Defender
8
9    Dated:    June 29, 2007                   /s/ T. Zindel
                                               TIMOTHY ZINDEL
10                                             Assistant Federal Defender
                                               Attorney for JACOB ESTEVES
11
                                               McGREGOR SCOTT
12                                             United States Attorney
13   Dated:    June 29, 2007                   /s/ T. Zindel fo A. Pings
                                               ANNE PINGS
14                                             Assistant U.S. Attorney
15
16                                        O R D E R
17         The hearing on judgment and sentence is continued to August 23,
18   2007, and the above schedule is adopted.
19         IT IS SO ORDERED.
20
21
      Dated: July 6, 2007
22
23                                           _____________________________
                                             MORRISON C. ENGLAND, JR.
24
                                             UNITED STATES DISTRICT JUDGE
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     Stip. in U.S.A. v. Esteves               -2-
